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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS



 MICHAEL BUSH,

                Plaintiff,                                 Case No.: 1:22-cv-10473-GAO
 v.

 THE WANG CENTER FOR THE PERFORMING
 ARTS, INC. d/b/a Boch Center,

                Defendant.



                       DEFENDANT THE WANG CENTER FOR THE
                     PERFORMING ARTS, INC. D/B/A BOCH CENTER’S
               MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

       Defendant The Wang Center for the Performing Arts, Inc. d/b/a Boch Center (“The Wang Center”)

hereby moves to dismiss all claims asserted in the First Amended Complaint filed by the plaintiff, Michael

Bush, pursuant to Federal Rule of Civil Procedure 12(b)(6).

       As discussed in the Memorandum in Support of The Wang Center for the Performing Arts, Inc. d/b/a

Boch Center’s Motion to Dismiss Plaintiff’s First Amended Complaint (“Memorandum”), which is supported

by Exhibit A, appended to the Memorandum, and the Affidavit of Michael Szczepkowski, each count in

Plaintiff’s Complaint fails to state a claim upon which relief can be granted. Thus, Plaintiff’s claims should be

dismissed with prejudice.




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Dated: May 3, 2022                            Respectfully submitted,
                                              The Wang Center for the Performing Arts, Inc.
                                              d/b/a Boch Center
                                              By its attorneys,
                                              /s/ Bruce E. Falby
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                                              Kelsey Tavares (BBO No. 705934)
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                                              Counsel for Defendant




                                   REQUEST FOR ORAL ARGUMENT

       Given the dispositive nature of the motion and the issue of law presented throughout the Memorandum,

The Wang Center hereby respectfully requests oral argument on the present motion pursuant to Local Rule

7.1(d) of the U.S. District Court for the District of Massachusetts.



                                     LOCAL RULE 7.1 STATEMENT

       Pursuant to Rule 7.1(a)(2) of the Local Rules of the United States District Court for the District of

Massachusetts, counsel for Defendant certifies that they contacted counsel for Plaintiff in an attempt to confer

on the issues addressed by this Motion on May 3, 2022. During that call, the parties engaged in a good-faith

effort to resolve or narrow the issues raised by this motion; however, they were unable to do so.

                                              /s/ Bruce E. Falby
                                              Bruce E. Falby




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                                      CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been furnished this 3rd day of May,

2022 via the Court’s ECF system to:

       Richard C. Chambers, Jr., Esq.
       Chambers Law Office
       220 Broadway, Suite 404
       Lynnfield, MA 01940

       Counsel for Plaintiff
                                             /s/ Bruce E. Falby
                                             Bruce E. Falby




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